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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

VINCENT R. COOPER,                                   *

        Petitioner,                                  *
                                                                 Crim. Action No. 14-0389
        v.                                           *           Civ. Action No. 17-3580

UNITED STATES OF AMERICA,                            *

        Respondent.                                  *

*       *       *       *       *        *       *       *       *        *       *       *       *


                                    MEMORANDUM OPINION

        On January 28, 2015, Vincent R. Cooper (“Petitioner” or “Cooper”) pled guilty to

Conspiracy to Distribute and Possess with Intent to Distribute Cocaine, in violation of 21

U.S.C. § 846. (ECF No. 139.) On April 7, 2015, this Court sentenced Petitioner to one-

hundred and thirty-two (132) months imprisonment. (ECF No. 220.) On December 1, 2017,

Petitioner filed a Motion to Vacate, Set Aside, or Correct Sentence Under 28 U.S.C. § 2255

asserting that his guilty plea was not knowing, voluntary and intelligent because the

government’s failure to produce a “tally sheet” before his guilty plea violated Brady v.

Maryland, 373 U.S. 83, 83 S. Ct. 1194 (1963). 1 (ECF No. 474.) The parties’ submissions have

been reviewed, and no hearing is necessary. See Local Rule 105.6 (D. Md. 2016). Due to the

United States Court of Appeals for the Fourth Circuit’s holding in United States v. Cannady,

719 F. App’x. 237 (4th Cir. 2018) that found the government’s failure to produce the tally


1 Brady v. Maryland, 373 U.S. 83, 83 S. Ct. 1194 (1963) held that “the suppression by the prosecution of

evidence favorable to an accused upon request violates due process where the evidence is material either to
guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.” Id. at 87.
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sheet was not a Brady violation in Petitioner’s co-defendants’ case and the reasons stated

herein, Petitioner Cooper’s Motion to Vacate, Set Aside, or Correct Sentence Under 28

U.S.C. § 2255 (ECF No. 474) is DENIED.

                                           BACKGROUND

        On August 21, 2014, Petitioner Cooper and eight co-defendants were charged with

Conspiracy to Distribute and Possess with Intent to Distribute Cocaine and Heroin, in

violation of 21 U.S.C. § 846. 2 Four of the Petitioner’s co-defendants (“co-defendants”) did

not plead guilty, and instead proceeded to trial. On March 20, 2015, after a nine day trial, a

jury convicted the co-defendants. (ECF No. 201.) Subsequently, in January 2016, the

Government produced a tally sheet 3 and disclosed it to the co-defendants (ECF No. 364),

who then filed a Motion for New Trial. (ECF No. 373.) This Court granted the Motion for

New Trial finding that the failure to disclose the tally sheet before trial violated Brady v.

Maryland, 373 U.S. 83, 83 S. Ct. 1194 (1963). (ECF No. 403.) The government appealed this

Order. (ECF No. 409.) While the appeal was pending in the Fourth Circuit, Petitioner was

informed of the subsequently disclosed tally sheet and the co-defendants’ successful Motion

for New Trial. (ECF No. 451.) Petitioner requested and was appointed counsel to pursue a

Motion to Vacate Under 28 U.S.C. § 2255. (ECF No. 460.)

        On December 1, 2017, Petitioner filed a Motion to Vacate, Set Aside, or Correct

Sentence Under 28 U.S.C. § 2255, arguing that because the subsequent production of the


2 Each Defendant was additionally charged with Attempted Possession with Intent to Distribute heroin
and/or Cocaine, in violation of 21 U.S.C. § 846. (ECF No. 70.)
3 The tally sheet was a piece of paper seized by the Federal Bureau of Investigation during the execution of a

search warrant at the government’s key witness’ residence. The witness “advised that the document reflected
notations as to payments received for portions of drugs sold and any money shortages regarding those
payments” (ECF No. 364.)
                                                      2
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tally sheet violated Brady, his guilty plea was not knowing, voluntary and intelligent. (ECF

No. 474.) In March 2018, however, pursuant to the government’s appeal, the Fourth Circuit

in United States v. Cannady, 719 F. App’x. 237 (4th Cir. 2018) held that the failure to disclose

the tally sheet did not violate Brady, reversing this Court’s Order granting the co-defendants’

Motion for New Trial.

                                STANDARD OF REVIEW

       Under 28 U.S.C. § 2255, a prisoner in custody may seek to vacate, set aside, or correct

his sentence on four grounds: (1) the sentence was imposed in violation of the Constitution

or laws of the United States, (2) the court was without jurisdiction to impose the sentence,

(3) the sentence was in excess of the maximum authorized by law, or (4) the sentence is

otherwise subject to a collateral attack. Hill v. United States, 368 U.S. 424, 426-27 (1962)

(citing 28 U.S.C. § 2255). “[A]n error of law does not provide a basis for collateral attack

unless the claimed error constituted ‘a fundamental defect which inherently results in a

complete miscarriage of justice.’” United States v. Addonizio, 442 U.S. 178, 185 (1979) (quoting

Hill, 368 U.S. at 428).

                                         ANALYSIS

       Petitioner Cooper’s only claim is that his guilty plea was not knowing, voluntary and

intelligent because the government withheld material exculpatory information, thereby

violating Brady. Therefore, this Court must determine whether the government’s failure to

submit the tally sheet until after Petitioner’s guilty plea and conviction constitutes a Brady

violation. In light of the Fourth Circuit’s holding in United States v. Cannady, 719 F. App’x.

237 (4th Cir. 2018), Petitioner’s argument is without merit.


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       “The Constitution insists … that the defendant enter a guilty plea that is ‘voluntary’

and that the defendant must make related waivers ‘knowing[ly], intelligent[ly], [and] with

sufficient awareness of the relevant circumstances and likely consequences.’” United States v.

Ruiz, 536 U.S. 622, 629 (2002) (citing Brady v. United States, 397 U.S. 742, 748 (1970)). “[A]

Brady violation contains three elements: the evidence was (1) favorable to the accused, (2)

suppressed by the government, and (3) material to the verdict at trial.” Nicolas v. Attorney Gen.

of Md., 820 F.3d 124, 129 (4th Cir. 2016). The Cannady court held that the evidence of the

tally sheet was not material to the verdict at trial because the tally sheet was of “inconclusive

impeachment value … [and] [i]ts nondisclosure does not ‘put the whole case in such a

different light as to undermine confidence in the verdict.’” Cannady, 719 F. App’x. at 240-41

(citing Kyles v. Whitley, 514 U.S. 419, 421 (1995)). Thus, the government’s failure to disclose

the tally sheet was held not to be a Brady violation. Id.

       Because the subsequent disclosure of the tally sheet was not a Brady violation,

Petitioner’s claim that his guilty plea was not knowing, voluntary and intelligent is without

merit. Therefore, Petitioner has not suffered a “miscarriage of justice” and is not entitled to

relief under this claim. For this reason, Petitioner’s pending Motion to Vacate, Set Aside, or

Correct Sentence Under 28 U.S.C. § 2255 (ECF No. 474) is DENIED.

                                        CONCLUSION

       For the reason stated above, Petitioner Cooper’s Motion to Vacate, Set Aside, or

Correct Sentence Under 28 U.S.C. § 2255 (ECF No. 474) is DENIED.




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         Pursuant to Rule 11(a) of the Rules Governing Proceedings under 28 U.S.C. § 2255,

the court is required to issue or deny a certificate of appealability when it enters a final order

adverse to the applicant. A certificate of appealability is a “jurisdictional prerequisite” to an

appeal from the court's earlier order. United States v. Hadden, 475 F.3d 652, 659 (4th Cir.

2007). A certificate of appealability may issue “only if the applicant has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Where the court

denies petitioner’s motion on its merits, a petitioner satisfies this standard by demonstrating

that reasonable jurists would find the court’s assessment of the constitutional claims

debatable or wrong. See Slack v. McDaniel, 529 U.S. 473, 484 (2000); see also Miller-El v.

Cockrell, 537 U.S. 322, 336-38 (2003). Because reasonable jurists would not find Cooper’s

claim debatable, a certificate of appealability is DENIED.



Dated:         June 8, 2018

                                                     /s/
                                                    Richard D. Bennett
                                                    United States District Judge




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